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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM‘
Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982

SECTION: J JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771: adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc, 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

Last Name First Name Middie Name/Maiden Suffix
NGUYEN TAM DUY
| (488) SBE-7 638 E-Mail Address
S176 KEYSTONE AVE PORTARTHUR, TX 77642

Business Name

BE CR GRR" Type of Business

41082 32ND AVE N oo
TEXAS City, TX 77591 TSE
gy of your Social Security Number Last 4 digits of your Tax ID Number
B} mi ! ]
LOREN’G. KLITSAS KUITSAS & VERCHER, P.C. /
350 WESTCOTT STE STE 570 HOUSTON, Tx 77007
793) 862-1365 KCFISAS@KV-LAW.COM

Claim filed with BP?

yes O NO Claim Filed with GCCF?: YES NO Oo

lf yes, BP Claim No.: lf yes, Claimant Identification No.: 1 168040

Claim Type (Please check all that apply):

i 3 Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Eamings/Profit Loss Loss of Subsistence use of Natural Resources
| Personal Injury/Death Removal and/or clean-up costs

Other:

4 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Shart Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaisan.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirament of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
invalying real estate/property, include the property location, type of property (residential/commercial}, and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

MR. NGUYEN WORKS AS A DECKHAND ON A COMMERCIAL SHRIMPING VESSEL, HE

LOUISIANA. BOTH, THE AVAILABILITY AND THE DEMAND FOR FRESH SEAFOOD FROM
iN THE GULF HAVE DECLINED AS A RESUCT OFTHE DEEPWATER HORIZON INCIDENT
ADDITIONALLY, THE PRICE OF GULF SEAFOOD HAS DRAMATICALLY DECREASED
COMPARED TO PREVIOUS YEARS. THEREFORE, Hls HOURS AND PAY WERKE
REDUCED. HE HAS SUFFERED A LOSS IN WAGES/EARNINGS DUE TO THE SPILL.

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

NIA

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

NWA

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

ry) 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

oO 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico.

oO 4. Commercial business, business owner, operator or worker, including commercial divers, offshore ilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Ol 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
C] 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

LC 8. —_ Hotel owner and operater, vacation rental owner and agent, or all those who eam their living from the tourtsm industry.
TJ ». Bank, financial institution, or retail business that suffered losses as a result of the spill.
Cc 10. Person who utilizes natural resources for subsistence.

1] 34. Other:

Post-Expiosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

oO 1. Boat captain or crew involved in the Vessels of Opportunity program.

oO 2. Worker involved in decontaminating vessels that came into contact with oll and/or chemical dispersants.

oO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicats,
odors and emissions during post-explosion clean-up activities.

EJ 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

LJ 5. Resident who lives or works in close proximity to coastal waters.

()6. Other:

Both BP and the Gulf Coast Claim s Facility (‘(GCCF") are hereby authorized to relea se to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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ClaieséniCpettiomey Signature

LOREN G. KLITSAS

Print Name

Y|20)

Date

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The filing of this Direct Filing Short Form shall also serve in fieuw of the requirement of a Plaintiff to file a Plaintiff Profile Form.
